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                           THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

CHILLY DIL CONSULTING INC., a                    §
Florida corporation,                             §
                                                 §
              Plaintiff,                         §
                                                 §
V.                                               §   CIVIL ACTION NO. 3:14-cv-02749-P
                                                 §
JETPAY ISO SERVICES, LLC, a Texas                §
limited liability company; JETPAY, LLC, a        §
Texas limited liability company; JETPAY          §
CORPORATION, a Delaware corporation;             §
and TRENT R VOIGT, an individual,                §
                                                 §
              Defendants.                        §

             APPENDIX OF EVIDENCE IN SUPPORT OF PLAINTIFF’S
     MOTION TO EXTEND DEADLINE TO SEEK LEAVE TO AMEND COMPLAINT



       Pursuant to Civil Local Rules of Northern District of Texas Local Rule 7-1, Plaintiff,

CHILLY DIL CONSULTING INC., (“Plaintiff”) hereby submits this Appendix of Evidence in

support of Plaintiff’s Motion to Extend Deadline to Seek Leave to Amend Complaint.

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                                   CERTIFICATE OF SERVICE


        This is to certify that on July 15, 2015, the foregoing was served upon counsel of record
in accordance with the Federal Rules of Civil Procedure as set forth below by U.S. Mail or
electronic filing.

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